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PhotographicTimeline of
    Police Storming
  Ms. Batiste’s Lawn
                Baton Rouge, July 10, 2016
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  Law enforcement gathers
    opposite protesters.
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Protesters comply with police orders to
           clear the streets.
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 Police advance on Plaintiffs Raae And
  Sami, who have complied with police
orders to clear the streets and sidewalks
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Law enforcement continues to advance.
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Police surround the protesters on three sides
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Officers advance from the three sides
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Officers advance from the three sides
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Officers advance from the three sides
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                           Officers:
“Where You Are Standing Is Not Good Enough”
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            Officers Advance
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            Officers Advance
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Officers advance to grab Raae and Sami
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Officers advance to Grab Raae and Sami
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Officers advance to Grab Raae and Sami
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Raae is pulled away from Sami
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Officers seize Raae and Sami
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Officers seize Raae
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            Officers continue
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Officers storm Ms. Batiste’s Porch
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Officers push Blair to the ground
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          Officers seize Blair
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        Officers remove Blair
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Protesters say “this is private property!”
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Officers chase down remaining protesters
